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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                             MIAMI DIVISION
                              CASE NO. 18-cv-60788-JEM
     3

     4     SPRINT COMMUNICATIONS, INC.,
                                  INC.,

     5           Plaintiff/Counterclaim Defendant,

     6           vs.

     7                                                     Miami, Florida
                                                           April 8, 2022
     8     STEPHEN CALABRESE, as an individual,            Pages 1-26
           NEXTEL, INC.,
                   INC., d/b/a NEXTEL WORLDWIDE,           2:04 p.m. - 2:42 p.m.
     9     RETROBRANDS USA LLC,
           JEFFREY KAPLAN, as an individual, and
    10     NEXTEL WORLDWIDE MOBILE, INC.,
                                    INC.,

    11          Defendants/Counterclaimants.
           _______________________________________________________________
    12
                                 TRANSCRIPT CALENDAR CALL
    13                     BEFORE THE HONORABLE JOSE E. MARTINEZ
                               UNITED STATES DISTRICT JUDGE
    14
           APPEARANCES:
    15
           FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
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          1                            Lee & Amtzis, PL
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          3
               REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
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                                   400 N. Miami Avenue, 10S03
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                                   Telephone: 305-523-5598
          6    ______________________________________________________________

          7               (Court called to order)

2:04:23   8               COURTROOM DEPUTY:     Case number 21 -- I'm sorry.      Case

2:04:31   9    number 18-60788-civil-Martinez, Sprint Communications,

2:04:33 10     Incorporated versus Calabrese, et al .

2:04:35 11                Counsel, please state your name for the record starting

2:04:38 12     with the Plaintiffs.

2:04:41 13                MR. RIOPELLE:    Your Honor, Brian Riopelle of

2:04:46 14     McGuireWoods for Sprint.       With me at counsel's table is Lucy

2:04:51 15     Wheatley, Amanda DeFord, and Dan Rogers of Shook Hardy, also for

2:04:52 16     Sprint.

2:04:53 17                THE COURT:    Good afternoon.

2:04:56 18                MR. SCHWARTZ:    Good afternoon, Your Honor.      It's Wayne

2:04:59 19     Schwartz on behalf of the Defendants.        With me is James Kernell,

2:05:02 20     Dory Solomon to my right.

2:05:03 21                THE COURT:    Good afternoon.    All right.

2:05:08 22                We're here today on the calendar call for the Sprint

2:05:12 23     Communication versus Calabrese case.        Specially set for trial

2:05:17 24     for the trial period of April 11th.        We'll start Monday, but I

2:05:20 25     can't tell you right now what time because the jury room has

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2:05:25   1    been a little difficult about how many people they can bring in

2:05:37   2    at one time.     We're going to try to pick nine jurors, that way

2:05:42   3    if we have a little bit of a fall-out, you know, they're not

2:05:46   4    alternates in civil cases here, they'll all serve and sit.           We

2:05:51   5    can sit actually more than nine, we can actually sit -- I think

2:05:55   6    maybe nine is all we can sit.       Yeah.    We can only sit nine in

2:05:58   7    the jury box.     We have these extra seats out here that we use in

2:06:03   8    criminal cases but it makes it very, very problematic.          There's

2:06:06   9    no monitors for them to look at the evidence, and we have to set

2:06:10 10     up a screen in the front and it just complicates the whole

2:06:14 11     thing.    It's like an obstacle course getting witnesses to the

2:06:16 12     witness box.

2:06:21 13                I do require people to wear masks in the courtroom

2:06:25 14     unless you are speaking at the lectern.         If you're speaking at

2:06:29 15     the lectern, I have a pretty good confidence that unless you're

2:06:34 16     screaming at me, which I'm not real fond of, you won't be

2:06:39 17     spewing enough particles to affect me.         Besides, I've got these

2:06:43 18     shields and I have living filters in front of me, and court

2:06:47 19     reporter and law clerks that filter out all bad particles before

2:06:49 20     they get to me.

2:06:53 21                We try to be as good as we can about the COVID

2:06:58 22     situation.     You can see the precautions we have taken.       We've

2:07:05 23     got screens in front of the jurors.         I'm not real crazy about

2:07:11 24     lawyers emulating cafe singers and leaning over the jury box

2:07:14 25     railing to schmooze with jurors.

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2:07:19   1               We do not permit voir dire questions by the parties.           I

2:07:24   2    will incorporate those questions of yours that I do not believe

2:07:28   3    are covered by my standard questions, although I think frankly

2:07:31   4    most of them are.

2:07:35   5               Let's see.    I understand there are two pending motions.

2:07:38   6    Defendants' motion to compel the Plaintiff to produce key

2:07:45   7    witnesses at trial and Defendant' sealed motion to permit the

2:07:50   8    Defendant Stephen Calabrese to testify via video conference.

2:07:53   9    These two motions will be dealt with today.

2:07:56 10                I'll also be issuing an order on the parties' joint

2:08:00 11     deposition designations.      I've finished with the longer of the

2:08:05 12     two.   I have to tell you, reading depositions to a jury, I'm

2:08:08 13     sure that you're experienced lawyers and you know that's death.

2:08:14 14     But I'm just suggesting to you that -- I talk to jurors after

2:08:19 15     cases and they really hate to be sitting there while people are

2:08:24 16     reading depositions.      It drives them crazy.     So I urge you to

2:08:28 17     minimize that, but it's your case.        Do what you want.    But I

2:08:32 18     will say that if I am taken to the emergency room and told that

2:08:35 19     I have an hour to live, I'm going to tell them to call these

2:08:39 20     guys because they made me read that damned deposition, and I'm

2:08:44 21     pretty sure they owe me at least ten hours.         And if we're going

2:08:46 22     to sit in the courtroom and listen to them, it might be a total

2:08:52 23     of 12 to 15 hours that I have gained by already being in hell.

2:08:58 24                Anyway, are there any matters aside from what we've

2:09:04 25     talked about already that need to be resolved before trial?

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2:09:07   1               MR. RIOPELLE:    Nothing -- Brian Riopelle, Your Honor,

2:09:11   2    nothing that needs to be resolved.        After we do this, there are

2:09:15   3    just some housekeeping things I would like to go over.

2:09:17   4               THE COURT:    We can deal with that.     How many days do

2:09:19   5    you believe this case will go, start with the Plaintiff.

2:09:21   6               MR. RIOPELLE:    We think it should go about four days.

2:09:23   7               THE COURT:    Okay.    Defense, do you concur?

2:09:27   8               MR. SCHWARTZ:    I would agree four, add in the extra day

2:09:28   9    for good measure.

2:09:29 10                THE COURT:    One problem we have next week, and it

2:09:34 11     depends on the jury after they're selected.         We should be able

2:09:42 12     to select a civil jury in late morning, early afternoon

2:09:46 13     depending on when we get them.        In other words, I'm going to get

2:09:51 14     -- I get 30 or 35 jurors.        How many did I ask for, Diane?     30.

2:09:57 15     We should be able to get through those late morning, perhaps

2:10:00 16     early afternoon.     So we'll probably have opening statements.

2:10:02 17                How long do you think you'll need for opening

2:10:05 18     statements, Plaintiff?      What do you think?

2:10:07 19                MR. RIOPELLE:    I haven't timed it yet, Your Honor, but

2:10:10 20     I would suspect it would be 40 minutes.

2:10:12 21                THE COURT:    Do you think that's about right?

2:10:12 22                MR. SCHWARTZ:    I do.

2:10:15 23                THE COURT:    All right.    In an abundance of caution I'll

2:10:20 24     give each of you 45, which means you'll have an hour an a half

2:10:23 25     total.    So we'll at least do that on Monday, and I would suspect

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2:10:27   1    that we will have the opportunity to call one or two witnesses

2:10:32   2    or start boring them to death by reading parts of any

2:10:36   3    depositions that you really want to do.        In any event, we'll try

2:10:38   4    to do some evidentiary matters on Monday.

2:10:43   5               Defendant's motion to compel the Plaintiff to produce

2:10:49   6    key witnesses at trial.      Federal Rule of Civil Procedure 45

2:10:57   7    (c)(1), plain language controls.       Subpoena may command a person

2:11:01   8    to attend a trial, hearing or deposition only if they're within

2:11:05   9    100 miles within the state, if the person is a party or a

2:11:06 10     party's officers.

2:11:09 11                Doesn't that resolve both of these, that motion?         Is

2:11:15 12     there anybody that is not really covered by that Rule that I

2:11:21 13     need to rule on specifically?

2:11:23 14                MR. RIOPELLE:    No, Your Honor.    Rule 45 covers both of

2:11:24 15     them.

2:11:29 16                THE COURT:    All right.   Defense, do you agree?

2:11:44 17                MR. SCHWARTZ:    Our only position, Your Honor, is that

2:11:47 18     that's a key witness who was produced by the Plaintiff

2:11:54 19     throughout this case, and there are cases that talk about the

2:11:58 20     procurement of certain witnesses, and just --

2:12:03 21                THE COURT:    I'm not going to require them to attend

2:12:12 22     unless the Rule says that they need to be, so I will -- well,

2:12:16 23     the officer, I think that we can require whether he lives here

2:12:18 24     or not.    What's the story on that?

2:12:21 25                MR. RIOPELLE:    Neither of them are officers of Sprint.

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2:12:23   1               THE COURT:     Isn't one of them an employee though?      Is

2:12:24   2    it a former employee?

2:12:28   3               MR. RIOPELLE:     Oh, Mr. Mancuso is a former employee and

2:12:32   4    Ms. Jobe is a current employee, but she's not an officer of

2:12:35   5    Sprint.

2:12:36   6               MR. SCHWARTZ:     Your Honor, we understood Ms. Jobe to be

2:12:40   7    some sort of -- you know, the machinations of the corporation

2:12:43   8    have changed over time, but she was identified as a senior

2:12:49   9    director of Sprint, and she was in charge of the trademarks for

2:12:53 10     the entire time.

2:12:55 11                THE COURT:     I've read her entire deposition, I did not

2:13:05 12     see that she qualifies -- well, she may be, but she's -- isn't

2:13:12 13     that party -- if within the state and they are a party or an

2:13:15 14     officer, then that's fine.       But she's not in the state, is she?

2:13:18 15                MR. RIOPELLE:     She's not in the state, and Rule 45, as

2:13:25 16     amended in 2013, actually applies to officers in the sense that

2:13:29 17     they are also covered by the within the state of the 100 miles.

2:13:32 18     So she's not an officer, but whether she was an officer or not

2:13:33 19     it wouldn't matter.

2:13:36 20                THE COURT:     Well, I don't think they're within my

2:13:39 21     subpoena power, therefore the motion to compel is denied.

2:13:46 22                Going to the second, Defendants' sealed motion to

2:13:51 23     permit the Defendant Stephen Calabrese to testify.          Let me hear

2:13:58 24     argument on that.       Defendant, why do you want to do that and --

2:14:03 25     I mean, this is a public record.       I don't know why it needs to

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2:14:06   1    be sealed.     It's not sealed as far as I'm concerned.

2:14:08   2               MR. SCHWARTZ:     Well, the reason being, Your Honor, I

2:14:12   3    took that direction from Mr. Calabrese himself who was concerned

2:14:17   4    about his mental health and his privacy in terms of his -- he

2:14:22   5    had privacy rights because that's the nature of the reason for

2:14:27   6    his unwillingness to come into this particular courtroom

2:14:30   7    setting.     He's just having basically a mental breakdown.        He's

2:14:35   8    checked himself into a facility, I understand, in Boston.             So

2:14:42   9    it's just the stress of this whole matter, and we've articulated

2:14:46 10     the reason and the basis.       There's case law that supports it.

2:14:52 11     The Court controls its -- if he were to be called, you know, we

2:14:56 12     now have moved into the realm of video and Zoom and technology

2:15:04 13     and this courtroom can facilitate any type of testimony, whether

2:15:10 14     it's remote or live.       And so for those particular reasons --

2:15:12 15                THE COURT:    All right.   Let me ask the Plaintiff, why

2:15:15 16     should Mr. Calabrese not be allowed to testify via video

2:15:20 17     conference?     He's making himself available by that.       I don't

2:15:26 18     know.   It seems a little bit unusual that we're saying no, you

2:15:31 19     got to be here when one of your people isn't going to be here.

2:15:39 20     I don't know.     I just -- I think it's discretionary with me, and

2:15:43 21     I'm wondering why I shouldn't grant -- use my discretion to

2:15:47 22     permit him to testify by video conference, which is only the

2:15:52 23     second-most boring thing in the history of the world.          This

2:15:56 24     trial is really --

2:15:58 25                MR. RIOPELLE:     It's got your interest really piqued,

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2:15:59   1    doesn't it?

2:16:01   2               THE COURT:    It's looming to be even more interesting

2:16:04   3    than this last witness I had here.        Not the last one, the next

2:16:07   4    the penultimate one.

2:16:09   5               Go ahead.    Tell me why.

2:16:11   6               MR. RIOPELLE:    First of all, the primary reason is he

2:16:15   7    is a party, he's an individually-named Defendant, and he has

2:16:20   8    brought a counterclaim, and so he's within the subpoena power

2:16:22   9    and that's why he should be in this courtroom.

2:16:25 10                Now specifically as to his condition, we've not seen

2:16:29 11     the report, I don't believe you've seen the report.          I

2:16:32 12     understand that he was assessed by a psychiatrist at the time he

2:16:39 13     was convicted or after he had been convicted for his -- and was

2:16:46 14     assessed for purposes of sentencing.        Everything, it looked to

2:16:53 15     me, like he was diagnosed with, whether it was ADHD or OCD or

2:16:56 16     something, are things that are treatable and that members of the

2:17:00 17     public have.    It is evident though, from the last few days about

2:17:06 18     what's been going on, that there's some major issue going on

2:17:13 19     with him that he has said he does not want to come.          And, I

2:17:17 20     mean, he has been a convicted felon, he is not known to be that

2:17:23 21     stable, and what I'm concerned about is that if we try to do him

2:17:28 22     by video we don't have anybody that's going to be there to be

2:17:31 23     controlling it, we don't know if he'll just walk out, we don't

2:17:35 24     know if he'll be reading stuff off the thing, it's going to be

2:17:41 25     difficult to get him exhibits beforehand.         Ordinarily I wouldn't

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2:17:44   1    have to show him the exhibits that I want to use on

2:17:47   2    cross-examining him, but I'm going to have to probably send them

2:17:51   3    to him ahead of time.        I just don't think this is right.     He

2:17:54   4    should have to come to this court, especially if he's asserting

2:17:56   5    a counterclaim.

2:17:59   6                THE COURT:     Well, let me ask you, it's also troubling

2:18:03   7    that he wants to represent himself pro se.        That's kind of hard

2:18:07   8    to do over Zoom.     And I do understand that I've denied his

2:18:14   9    motion, or the lawyer's motion, to withdraw, but I think he

2:18:21 10     still has the responsibility to be available to assist his

2:18:25 11     counsel.     This is a very complicated.     I don't understand.        Tell

2:18:30 12     me why -- you know, tell me what's going on as much as you can.

2:18:31 13                 MR. SCHWARTZ:     As much as I can Your Honor, on the

2:18:36 14     issue that you just raised, he's asked us to continue on on his

2:18:39 15     behalf, so the issue about the withdrawal is moot now --

2:18:39 16                 THE COURT:     Okay.

2:18:44 17                 MR. SCHWARTZ:     -- based upon conversations and your

2:18:49 18     direction.     He has basically told us he's not coming here.

2:18:54 19     We're trying to have an alternative that allows him to meet his

2:18:58 20     needs and the Court's needs and the parties needs, balance

2:19:04 21     everything to the extent we even decide to as far as our side

2:19:08 22     call him.     We don't know yet, based upon the presentation of the

2:19:13 23     Plaintiff's case.        And I don't have enough information yet about

2:19:17 24     where he is or the treatment he's seeking or -- I don't have

2:19:22 25     that yet.     So I've been dealing with this in real-time to just

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2:19:22   1    --

2:19:24   2              THE COURT:    I've been there, done that.      I understand.

2:19:29   3    It could be highly prejudicial to his case, I hope he

2:19:32   4    understands that.

2:19:34   5              MR. SCHWARTZ:     Without getting into any of the details

2:19:34   6    --

2:19:37   7              THE COURT:    If they comment on where he is to tell you

2:19:41   8    whatever the heck he says happened, it makes it very difficult.

2:19:45   9    I'm not sure I can stop them from doing that.        I'm not sure I

2:19:50 10     should.   The fact that he's not here is a fact.        The fact that

2:20:04 11     he's not here to support his position is very damaging, but then

2:20:07 12     again you know that.      I'm not telling you there's no Santa

2:20:14 13     Clause, you probably figured that out.       Well, do you need him

2:20:18 14     here for your case?

2:20:20 15               MR. RIOPELLE:     It would be our intent that we would

2:20:23 16     probably have to call him in our case.       We have to prove

2:20:28 17     infringement, and there is some of the infringing factors that I

2:20:35 18     have to get him to authenticate.       I have to avoid J-AL at the

2:20:38 19     end of our case, so I cannot tell you 100%, but I can tell you

2:20:42 20     that I'm more than 50% considering that I'm going to call him in

2:20:45 21     my case so that I can make sure I get the infringement evidence

2:20:46 22     in.

2:20:48 23               THE COURT:    Well, you better try to find a way of

2:20:51 24     getting infringement evidence in because even if I say that he

2:20:57 25     should come, I'm not prepared to send Orlando up to get him and

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2:21:01   1    bring him back on Con Air .     You know, that might work in the

2:21:04   2    movies, but it doesn't work real well in civil cases.

2:21:06   3               MR. RIOPELLE:   And I will tell you, Your Honor, just so

2:21:12   4    you know that we have tried to serve him with a subpoena, it

2:21:17   5    appears to us that he's evading service.        We've asked defense

2:21:21   6    counsel for an address, we asked them if they would accept

2:21:21   7    service.

2:21:23   8               THE COURT:   They say they don't know where he is.

2:21:24   9               MR. RIOPELLE:   I don't know if they don't know where he

2:21:25 10     is.

2:21:27 11                MR. SCHWARTZ:   I do not know where Mr. Calabrese is.

2:21:29 12                THE COURT:   I thought that's what he said.

2:21:31 13                MR. RIOPELLE:   That's the first time they've told us

2:21:35 14     that.   We had asked them and they haven't told us so --

2:21:38 15                THE COURT:   Well, I wouldn't want to tell you either if

2:21:43 16     I didn't know where my client was.       I'm not sure I would want to

2:21:53 17     be bragging about it either, but okay.       I mean, he is within my

2:21:58 18     subpoena power, but somebody's got to subpoena him.         I'm not

2:22:04 19     going to worry about it until you call him, but when you call

2:22:07 20     him and he's not here, I don't know exactly what I'm going to

2:22:12 21     tell the jury, but I'm open to suggestions and I suspect that

2:22:17 22     the suggestions I'm going to get from both sides will be 180

2:22:25 23     degrees off, and I'm inclined to go with the Plaintiff's

2:22:34 24     suggestion because they didn't cause this.        So bear that in

2:22:38 25     mind, govern yourself accordingly.       I'm not sure there's a lot

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2:22:40   1    that you can do about it, but you might start drafting an

2:22:44   2    instruction to the jury, both of you, as to -- you know, you

2:22:49   3    know that the defense called him and he's not here and therefore

2:22:56   4    whatever.    Okay?     I don't really know exactly how to deal with

2:23:02   5    it, but I'm not always sure but -- I'm not always right, but I'm

2:23:04   6    never in doubt.       You ask me to do something and I'll rule one

2:23:06   7    way or the other.        Okay?

2:23:10   8                MR. RIOPELLE:        Just so that -- playing completely

2:23:13   9    above-board, Your Honor, there would be three things that we

2:23:17 10     would ask for.       We would ask, as you just suggested, that if he

2:23:20 11     does not show, we would ask for an adverse instruction and we

2:23:26 12     will have an adverse instruction ready to go.

2:23:31 13                 What I'd like to ask you is that the documents that I

2:23:35 14     was going to get him to authenticate, that you just go ahead and

2:23:39 15     admit them but I think that may be putting the Court too far out

2:23:47 16     on that.    So what I would like to ask in the alternative is that

2:23:50 17     at the time that we originally designated deposition testimony

2:23:53 18     from him, and I know you like --

2:23:54 19                 THE COURT:     Oh, I love deposition testimony.

2:23:56 20                 MR. RIOPELLE:        I knew you would.   But I'm going to

2:24:01 21     need, at least for the record, to designate additional testimony

2:24:05 22     from his deposition so that I can authenticate the documents so

2:24:06 23     they can come in.

2:24:09 24                 THE COURT:     I'm confident counsel is not going to roll

2:24:12 25     over, but they're not going to fight you on stuff that you could

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2:24:16   1    prove otherwise if he were here; is that correct?

2:24:18   2                MR. SCHWARTZ:     Your Honor, they are suing the

2:24:25   3    corporation NEXTEL, Inc.        They make it seem like that that

2:24:27   4    company doesn't exist.        That company is going to be here with

2:24:29   5    its corporate representative.         They have issues about

2:24:33   6    infringement, that's the true nature of the Defendant in terms

2:24:36   7    of what they claim that we did, not Mr. Calabrese who they've

2:24:41   8    included in this lawsuit simply as a matter of exacting some

2:24:46   9    leverage over him.        The company is the company.

2:24:51 10                 And so they've made this to do about Mr. Calabrese, but

2:24:54 11     they'll be able to do anything they want in terms of presenting

2:24:58 12     their case being that they have the other corporate Defendant.

2:24:59 13                 THE COURT:     Well, you know, you should be able to prove

2:25:02 14     a lot of the stuff up without him, but if you have a problem

2:25:07 15     with something that is not -- and I'll consider what I should do

2:25:07 16     about it.

2:25:10 17                 MR. RIOPELLE:     Okay.   I just need to go on the record

2:25:15 18     though and say that's -- we have a 180-degree oppose.

2:25:17 19                 The other corporate Defendant that he's saying,

2:25:23 20     Mr. Rivera, has not been deposed, he's not been on anybody's

2:25:27 21     witness list, he's not been on initial disclosures, he's not

2:25:31 22     testifying, and all the actions that we're going to do were

2:25:35 23     taken by Mr. Calabrese and in Mr. Calabrese's name, so that's

2:25:39 24     why he was named.        Not to get leverage over him, because he did

2:25:39 25     it.

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2:25:42   1              The last thing I would like to be able to -- just so

2:25:47   2    it's on the record, Your Honor, you ruled in your in limine

2:25:52   3    rulings that we could inform the Court that he is a convicted

2:25:56   4    felon.   Taking into account the cautions you put in that if he

2:26:01   5    doesn't show, I would still like to be able to inform the jury

2:26:02   6    that he's a convicted felon.

2:26:06   7              THE COURT:    Well, if you introduce testimony of his, I

2:26:09   8    think you're permitted to.      But I don't think that in the blank

2:26:12   9    you'll be able to do it.      I don't think that if he doesn't

2:26:16 10     testify, or if there isn't testimony of his for the jury to

2:26:18 11     consider, whether it be true or not, you can introduce evidence

2:26:23 12     of -- excuse me.     You can introduce testimony of his, and you

2:26:28 13     can also argue that he lied during that testimony even if you

2:26:33 14     introduce it, and so therefore I think that you can introduce,

2:26:37 15     but you have to introduce testimony.       You can't just do it in

2:26:40 16     blank and say by the way, this Defendant a bad guy because he's

2:26:43 17     a convicted felon.

2:26:46 18               MR. RIOPELLE:     Let me ask the Court's preference on

2:26:53 19     this then.    In opening statement if I have the intention of

2:26:56 20     introducing testimony of his, may I refer to him as a convicted

2:26:59 21     felon or do you want me to wait until such time --

2:27:03 22               THE COURT:    I want you to wait until you do it.

2:27:03 23               MR. RIOPELLE:     Thank you.

2:27:05 24               MR. SCHWARTZ:     I want to address a point about the

2:27:08 25     corporate Defendant.      Mr. Rivera was disclosed in

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2:27:14   1    Mr. Calabrese's deposition several weeks ago.        He was disclosed

2:27:17   2    specifically as the corporate rep of NEXTEL, Inc.

2:27:19   3              THE COURT:    As old as I am, I didn't even remember that

2:27:24   4    they had said that, so don't worry about it.        Not important.     My

2:27:27   5    mind is failing me as we speak.        After that last hearing, you

2:27:30   6    can well understand that.

2:27:37   7              MR. SCHWARTZ:    Your Honor, just to be clear, Your

2:27:40   8    Honor's ruling is that you're denying the motion?

2:27:46   9              THE COURT:    Yes, and that the felony conviction is only

2:27:48 10     admissible for purposes of impeachment, which means that there

2:27:59 11     has to be something to impeach.        Even if you introduce it, it

2:28:00 12     doesn't matter.

2:28:02 13               MR. RIOPELLE:    Right.

2:28:02 14               THE COURT:    Okay?

2:28:02 15               MR. RIOPELLE:    Understood?

2:28:04 16               THE COURT:    Anything else we need to talk about today?

2:28:06 17               MR. RIOPELLE:    Yes, Your Honor.     One follow-up on the

2:28:07 18     housekeeping, how does the judge like to do things.         On the

2:28:11 19     housekeeping, we have -- because of some communications in the

2:28:14 20     last few days, we have an e-mail address now for Mr. Calabrese.

2:28:18 21     May we have permission of the Court to serve the subpoena on him

2:28:20 22     via e-mail?

2:28:22 23               THE COURT:    What is the point if he says he's not

2:28:27 24     coming?   Am I supposed to send somebody up to get him?         What do

2:28:31 25     you propose to gain by that?        I don't want to push somebody over

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2:28:34   1    the edge, and I don't know that I would be, but what is the

2:28:34   2    point?

2:28:37   3                MR. RIOPELLE:     I just know that in other federal courts

2:28:45   4    in which I've done cases that we're required to serve a

2:28:48   5    subpoena.    If somebody doesn't show or if there's some issue,

2:28:52   6    the court would only take action if we had served the subpoena.

2:28:54   7    If this Court is telling me you don't have to serve the subpoena

2:28:54   8    --

2:28:57   9                THE COURT:     The lawyer says he's not coming.     His

2:29:01 10     lawyer told us he's not coming.        You don't think that's enough?

2:29:05 11     No, the question is is there -- I mean, I don't argue at the

2:29:08 12     Eleventh Circuit.        I don't get to go up there and take a

2:29:11 13     position.    If you go up, you're going to be the one arguing it.

2:29:17 14     If you need a subpoena, tell me you need a subpoena.          If you

2:29:20 15     don't, then, you know, it's really up to you.        You tell me what

2:29:24 16     you need, I will work with you on that but it doesn't seem to me

2:29:30 17     that you need it when his lawyer says he's not coming.           I take

2:29:36 18     his lawyer at his word, but you're the guy that has to defend

2:29:41 19     that position so if it's not that, then don't mess with it.

2:29:42 20                 MR. RIOPELLE:     Right.

2:29:46 21                 THE COURT:     Who needs to do this twice?

2:29:50 22                 oh, wait.     Let me just tell you one thing.     Next week

2:29:55 23     Friday is Good Friday.        Whether we work -- we're not going to

2:29:59 24     work all day on Good Friday for sure.        If we work at all on Good

2:30:03 25     Friday, it kind of depends on the jury.        I'm going to try to

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2:30:06   1    feel them out about it and discuss it with them, but I'm not

2:30:10   2    going to force them to be here.           If somebody is really

2:30:13   3    religious, I'll let them off all day.           If somebody is

2:30:18   4    semi-religious, we'll stop at noon.           I don't usually work on

2:30:21   5    Good Friday, but this is an old case and I really want to get

2:30:27   6    over with.    It's not going to get any easier as we go along.

2:30:29   7                MR. RIOPELLE:   No.     No.

2:30:32   8                THE COURT:   All right?       I'm sorry to interrupt you, but

2:30:32   9    go ahead.

2:30:35 10                 MR. RIOPELLE:   No, no, no, no.       I appreciate that very

2:30:36 11     much.

2:30:41 12                 Here's an issue.      We have a witness that we are going

2:30:49 13     to put on the stand, his name is Brent Kohman.           Mr. Kohman has a

2:30:54 14     tremor, it's called a familial tremor, it causes him to -- when

2:30:57 15     he's concentrating, to shake his head.           We would just like the

2:31:02 16     Court's permission to be allowed to ask him that so he can tell

2:31:06 17     the jury that in the very beginning, because the only concern --

2:31:09 18     we're not looking for sympathy for him.           The concern is that

2:31:11 19     sometimes when you ask him a question --

2:31:14 20                 THE COURT:   You might think he's saying no?

2:31:15 21                 MR. RIOPELLE:   Exactly.

2:31:16 22                 THE COURT:   Nodding or shaking his head no, but saying

2:31:17 23     yes.

2:31:18 24                 MR. RIOPELLE:   Right.

2:31:20 25                 THE COURT:   Yeah, I don't have a problem with that.          Do

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2:31:22   1    you have a problem with that, Counsel?

2:31:24   2              MR. SCHWARTZ:     I don't necessarily have a problem, Your

2:31:27   3    Honor.   I just feel like there should be some sympathy to a

2:31:31   4    person on my side who is going through a mental breakdown, and I

2:31:35   5    don't seem to see that coming from the Plaintiff's side with

2:31:38   6    regard to -- I'm surprised that I'm hearing this for the first

2:31:41   7    time about a witness that they have a medical issue with.

2:31:42   8    That's all I'd have to say.

2:31:43   9              THE COURT:    Okay.

2:31:44 10               MR. RIOPELLE:     But, I mean, the difference is we're

2:31:47 11     bringing him and he'll be on the stand.

2:31:49 12               THE COURT:    Okay.

2:31:52 13               MR. RIOPELLE:     What is the Court's preference on how

2:31:56 14     exhibits are put in the record?      Do you want us to do it exhibit

2:31:59 15     by exhibit, or would you like us to wait until the end of the

2:31:59 16     day.

2:32:01 17               THE COURT:    I would like you to have shown counsel the

2:32:05 18     night before you intend to introduce.        The other thing that I've

2:32:08 19     learned from jurors is the one thing they really hate is having

2:32:14 20     the lawyer say I show counsel Exhibit 1, and then have the guy

2:32:18 21     pick it up and start reading it.       No.   Have it in their hands

2:32:21 22     beforehand so that they have read it and they can object or not

2:32:26 23     object at that time.      If you can agree to certain things, agree

2:32:29 24     to them and get them all in so that you can just start talking

2:32:35 25     about them.    If you can't agree, then bring it up, mention it to

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2:32:39   1    him, have the witness do the foundation and then move on.          Move

2:32:42   2    it in.   If you get it in, you can talk about it.        If you don't,

2:32:43   3    then you can't.

2:32:48   4              MR. RIOPELLE:     So is it okay then if we have agreed,

2:32:50   5    either side we've agreed on something, we don't have to go

2:32:52   6    through the whole rigmarole --

2:32:55   7              THE COURT:     Just tell me pursuant to agreement, I offer

2:33:01   8    10, 12, 14, and I will let them all in at the same time.          I do

2:33:06   9    need an updated exhibit list every day because I know that

2:33:08 10     things change.    So I need to have one from the day before with

2:33:11 11     everything that's on it that's it in, and I'll keep track of

2:33:15 12     what comes in and what doesn't, but I have to have an accurate

2:33:17 13     exhibit list in order to do that.

2:33:18 14               MR. RIOPELLE:     Understood, Your Honor.

2:33:24 15               Normal court days.     When do you start, when do you take

2:33:24 16     --

2:33:27 17               THE COURT:     Normally we start at 9:30, break once

2:33:30 18     during the morning, break at lunch.       As you know, I have a lot

2:33:34 19     of other cases going on, so I almost always have little hearings

2:33:38 20     like the one that just ended, which almost always end up to be

2:33:44 21     medium-sized hearings.      And so if I have a long hearing, I'll

2:33:49 22     take a break at, you know, a little before noon and we'll break

2:33:53 23     until about 1:30.      I try to break for about 90 minutes so that

2:33:57 24     the jury can get out of this building and not have to eat on the

2:34:03 25     7th floor, and that 90 minutes can be from 12 to 1:30 or from

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2:34:08   1    12:30 to 2, or I might go down to an hour if we're getting tight

2:34:14   2    for time, and if we're able to.      But we try to break, and then

2:34:18   3    there will be a break in the afternoon and then we'll break for

2:34:21   4    the day at about quarter to 5, unless you have a witness that's

2:34:24   5    going out of town or going to be out of town, or we can finish

2:34:28   6    up and let them go away, in which case I might stretch it a

2:34:31   7    little bit beyond 5, but I don't want them down here too much

2:34:34   8    after 5.    The people that live on the street start coming out

2:34:37   9    then.

2:34:39 10                MR. RIOPELLE:   Now, that raises one concern with me,

2:34:42 11     Your Honor.    I was planning on eating lunch on the 7th floor.

2:34:44 12     Are you not recommending that?

2:34:46 13                THE COURT:   No, it's fine.    They make four things.       By

2:34:51 14     Thursday you will have eaten all of their stuff.         It's not as

2:34:55 15     good as they used to be.     They cut way back during COVID, and

2:34:59 16     they've never come back.     But they're good to have if you have a

2:35:03 17     jury deliberating, because the jury will never want to take too

2:35:11 18     long.    But again, Miami-Dade College is a block from here.

2:35:14 19     Where there's kids, there's food, so there's places all around

2:35:15 20     there.

2:35:16 21                MR. RIOPELLE:   Good point.    Good point.

2:35:21 22                I know that we have to, on Monday, deliver a joint

2:35:25 23     exhibit binder.    Just one question, and this may be for somebody

2:35:29 24     else on your staff, we do have some electronic exhibits like

2:35:34 25     videos and the chirp sound.      Would the Court like those

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2:35:39   1    submitted via flash drive or some other medium?

2:35:41   2              THE COURT:    I'll have to call my grandson to find out

2:35:48   3    how I would like it, but who cares.       Diane, do you care?     Does

2:35:55   4    the clerk's office care?     Jose, do you care?

2:35:58   5              LAW CLERK:    Flash drive is fine, Judge.

2:36:00   6              THE COURT:    Flash drive is fine, I've been informed.

2:36:02   7              MR. RIOPELLE:    Okay.     Then the last question, at least

2:36:07   8    I have on my list Your Honor, is -- this kind of goes back to

2:36:15   9    one of the issues, we may call one or both of the individual

2:36:22 10     Defendants in our case.     Does the Court have a policy or a

2:36:27 11     preference on exhausting witnesses so they don't get called back

2:36:29 12     in, you know, in the defense case?

2:36:30 13               THE COURT:    I don't have a policy.     I don't have a

2:36:36 14     problem with permitting the other side to use -- call them, and

2:36:39 15     then that just means that there's going to be cross-examination

2:36:44 16     after and then we'll work it out.       But if we can and they're not

2:36:47 17     going to be here the whole time, if they're going to be here we

2:36:50 18     might as well call them in turn.       I don't want to confuse the

2:36:54 19     jury if I can avoid it.     You guys will do a good enough job of

2:36:55 20     that.

2:36:57 21               MR. RIOPELLE:    We're going to try to put them to sleep

2:36:58 22     by reading all those depositions.

2:37:01 23               THE COURT:    You will have succeeded, I'm sure.

2:37:01 24               MR. RIOPELLE:    Thank you, Your Honor.

2:37:02 25               THE COURT:    Thank you.

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2:37:08   1                Defense you have some questions or comments?

2:37:16   2                MR. SCHWARTZ:    Just I think both sides are probably

2:37:19   3    going to be moving in a lot of, you know, boxes and equipment

2:37:24   4    and whatnot.    So for Monday, what's the earliest we can get into

2:37:28   5    the court to do all that kind of stuff?

2:37:29   6                THE COURT:    Can somebody tell me from the court

2:37:33   7    security?    Diane, do you know?

2:37:37   8                COURTROOM DEPUTY:     Judge, normally around 8:30.

2:37:40   9                THE COURT:    About 8:30 you can do it, and there's two

2:37:44 10     rooms out there, one for either side.          You can leave your stuff

2:37:47 11     out there or you can leave it in here.          The only thing I ask is

2:37:51 12     if I have a case involving a prisoner, they're brought in this

2:37:54 13     door and they use this table, so you'd probably be smart not to

2:38:01 14     leave your Cross pens and your Patek Philippe watches on the

2:38:04 15     desk, because they're there for a reason in the jail.           So you

2:38:08 16     can remove your stuff and actually put it on the side here, the

2:38:11 17     papers and things.       Or you can put them back in the room, but

2:38:15 18     just leave a clear work space.       Over here, US attorneys usually

2:38:20 19     do not pilfer things.       So although I wouldn't leave anything

2:38:22 20     really valuable on there, you can probably leave your papers and

2:38:30 21     just move them to give them a work space.          Okay?   But by 8:30,

2:38:34 22     you should be able to get in.       Diane is in the chambers, so you

2:38:38 23     can beep the chambers and find out from them.

2:38:39 24                 MR. SCHWARTZ:    All right.   That's all, Your Honor.

2:38:41 25                 THE COURT:    Okay.   All right.

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2:38:43   1              MR. RIOPELLE:     You had said you might get the jury in

2:38:47   2    on Monday.    What time do you want us here on Monday?

2:38:49   3              THE COURT:     I'll let you know later today.     Can you

2:38:53   4    tell us, Diane, what time we're going to have the jury?          Or do

2:38:55   5    you know already?

2:38:57   6              COURTROOM DEPUTY:     I let Liz know, but she couldn't

2:39:01   7    tell me until they start coming in on Monday.

2:39:03   8              THE COURT:     I need them here --

2:39:07   9              COURTROOM DEPUTY:     She has approximately 120 jurors

2:39:14 10     coming in and there's four judges who are picking trials.            You

2:39:21 11     know, for those jurors.      I'll text her right now.

2:39:25 12               THE COURT:     Text her right now, give her a time and

2:39:27 13     tell a time when they need to be here.         I would say probably

2:39:32 14     likely not before -- clearly not before 10:00.         Don't worry

2:39:35 15     about that.      It takes them that long to line them all up.        So

2:39:39 16     clearly you do not have to be here before 10 a.m.         It could be

2:39:43 17     it might be as late as 11 or so.

2:39:44 18               MR. RIOPELLE:     I'm fine to say, Your Honor, we'll be

2:39:49 19     here at 10 because we don't want to hold anything up.

2:39:52 20               THE COURT:     I do have physical therapy, don't I, Monday

2:39:56 21     Diane?   Okay.     Tuesday and Thursday of next week I have physical

2:40:01 22     therapy at 8 a.m.      I'm finished at 9 a.m., which means I should

2:40:05 23     be here by 9:30, but it's possible it might slide a few minutes.

2:40:06 24               MR. RIOPELLE:     And does physical therapy tend to make

2:40:09 25     you happier or grumpier.

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2:40:14   1              THE COURT:     It makes me extremely grumpy.      No don't do

2:40:17   2    anything important.      No, she's a nice lady.      Makes me feel good

2:40:19   3    or I wouldn't go.

2:40:23   4              Thank you all very much.        Anything else?   Thank you.

2:40:23   5              MR. RIOPELLE:     Thank you, Your Honor.

2:40:28   6              THE COURT:     I'm looking forward to a nice trial.

2:40:31   7              COURT SECURITY OFFICER:        All rise.

2:40:34   8              THE COURT:     Where I learn all about push-to-talk.

2:40:44   9    Whatever that is.      We'll text you in a little while and tell you

2:40:47 10     a little more about when the jury will be here for sure, but

2:40:50 11     10:00 will be fine.

2:41:24 12               Wait, one more thing.        Can I get everyone's attention

2:41:27 13     for a second?    One more thing.       If you're going to be reading

2:41:31 14     depositions into evidence, are you going to have somebody

2:41:34 15     sitting up here making believe they're the witness and somebody

2:41:37 16     there making believe they're a lawyer?

2:41:37 17               MR. RIOPELLE:     That was the plan.

2:41:40 18               THE COURT:     Okay.   The court reporter can do that, but

2:41:44 19     if you have a transcript of what you're going to read based on

2:41:48 20     our objections and things, it would be very useful if we could

2:41:53 21     use the transcript instead of the -- have her do that.

2:41:53 22               MR. RIOPELLE:     Sure.

2:41:56 23               THE COURT:     Her little fingers will get worn out, and I

2:42:00 24     love to take care of my court reporter because she's very good.

2:42:03 25     Okay?   So think about that.        If you have a transcript, it would

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2:42:07    1   be wonderful.    If you don't, we'll get by.      We'll just have her

2:42:07    2   --

2:42:10    3              MR. RIOPELLE:    Oh, no.   We'll make sure.     And you said

2:42:13    4   you've gone through them.       Have you ruled?

2:42:15    5              THE COURT:   I've ruled on one of them.       I will get that

2:42:18    6   order out -- when can we get that out, this afternoon?          That

2:42:21    7   will be out this afternoon.       The other one, the shorter one,

2:42:24    8   will probably be Monday before I can get it out.

2:42:27    9              MR. RIOPELLE:    That's fine.   We'll be going first and

2:42:30 10     we don't plan on putting any deposition testimony on on Monday.

2:42:32 11                THE COURT:   Okay.    Well, we'll have it to you by Monday

2:42:34 12     by the time the jury is selected.

2:42:35 13                MR. RIOPELLE:    Thank you.

2:42:38 14                THE COURT:   We'll work on it over the weekend.       It was

2:42:42 15     so much fun last night.     My wife couldn't figure out why I

2:42:45 16     wasn't watching what she was watching.

2:42:45 17                (PROCEEDINGS CONCLUDED)

2:42:45 18                           C E R T I F I C A T E
               I certify that the foregoing is a correct transcript from the
2:42:45 19     record of proceedings in the above-entitled matter.

2:42:45 20     4/8/2022                   /s/ Dawn M. Savino, R.P.R., C.R.R.
               Date                           DAWN M. SAVINO, R.P.R., C.R.R.
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                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
